Case 2:04-cr-20415-.]PI\/| Document 82 Filed 06/13/05 Page 1 of 2 Page|D 100

IN THE UNITED sTATEs DISTRICT coURT Fn_En w LUPl°/D(.
FOR THE wEsTERN DISTRICT oF TENNESSEE ""
wEsTERN DIvIsIoN

05 Jurs 13 PH 5= 33

 

aoea=;v "-z. r;':.r .
.cr..c;m~:. 1';: ;;.;§§0§5§?
":""D- @F* `I`N, seems

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20415-Ml

ALISSA C. BUDD

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 13, 2005, the United States
Attorney for this district, David Henry, appearing for the Government and
the defendant, Alissa C. Budd, appearing in person and with counsel, Robert
Ross, who represented the defendant.

With leave of the Court, the defendant Withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts 1 and 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaS@ iS SET for THURSDAY, SEPTEMBER 8, 2005, at
9:00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the f § day of June, 2005.

QW@MZ

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 
  
 

TNSdocumentenkuedonthedocketsheetw\compHance

Wirh sum 55 and/or 32{13) mch on Q'/¢/'Uf'g

 

UN1TEDSTESATD1STR1C COURT - WESRTE DISTR1CT TNNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:04-CR-20415 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Robert .1 oseph Ross

LAW OFFICE OF ROBERT J. ROSS7 11
1271 Poplar Ave.

Ste. 103

1\/lemphis7 TN 38104

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

